Case 5:23-cv-00625 Document 39 Filed 07/26/24 Page 1 of 4 PagelD #: 375

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA
AT BECKLEY

MOUNTAIN VALLEY PIPELINE, LLC,

Plaintiff,
Vv. CIVIL ACTION NO 5:23-CV-00625

MELINDA ANN TUHUS, and
ROSE ZHENG ABRAMOFF

Defendants.
UNOPPOSED MOTION TO AMEND MOTION TO DISMISS

TO INCLUDE SUPPLEMENTAL GROUNDS
PURSUANT TO FED. R. CIV. P. 12(b)(6)

With the consent of Plaintiff Mountain Valley Pipeline, LLC (“MVP”),
Defendants Melinda Ann Tuhus (“Tuhus”) and Rose Zheng Abramoff
(“Abramoff”) hereby move for leave to amend their previously-filed Motion to
Dismiss (ECF Doc. 14)' and supporting Memorandum (ECF Doc. 15) to include
the additional grounds, to be incorporated by reference into said Motion and
Memorandum, set forth in the attached, conditionally-filed Supplemental

Memorandum of Law in Support of Motion to Dismiss. In support of their Motion

to Amend, Defendants state the following.
1. On October 2, 2023, Defendants filed the above-referenced Motion to

Dismiss/Motion to Abstain and supporting Memorandum. The Motion

" As MVP has previously acknowledged, while styled as a “Motion for Abstention” this pleading
is, in substance, a Motion to Dismiss. The previously-filed Motion to Dismiss/Motion for
Abstention remains pending.
Case 5:23-cv-00625 Document 39 Filed 07/26/24 Page 2 of 4 PagelD #: 376

remains pending to date.

2. On July 19, 2024, the parties jointly moved to modify the Scheduling
Order in this matter. The Court granted the parties’ joint motion and issued
a modified Scheduling Order on July 25, 2024.

3. Prior to the Defendants’ stipulation to the joint Motion, the parties
contemplated that they would jointly submit a proposed modified
Scheduling Order accommodating requests from both MVP and
Defendants. Defendants’ primary request, explicitly understood as a
condition of their agreement to the joint motion, was that MVP would
agree to an order deeming an amendment to the above-referenced Motion
to Dismiss, so as to add supplemental grounds pursuant to Fed. R. Civ. P.
12(b)(6), timely if filed by July 26, 2024.

4. The parties were in good-faith discussion regarding the details of their
contemplated proposed modified Scheduling Order when the Court issued
the modified Scheduling Order on July 25. Accordingly, the modified
Scheduling Order does not include the above defense request that had been
agreed upon by the parties.

5. Defendants have conferred with MVP subsequent to entry of the modified
Scheduling Order, and MVP has confirmed that it remains unopposed to
Defendants’ Motion to Amend.

6. MVP has no objection to the form of amendment sought by the Defendants

—i.e., the submission of a supplemental memorandum to be incorporated

2
Case 5:23-cv-00625 Document 39 Filed 07/26/24 Page 3 of 4 PagelD #: 377

by reference into their original Motion to Dismiss.

7. Granting the Motion to Amend is in the interest of both justice and judicial

economy, as it would both honor the agreement between the parties that

precipitated the modified Scheduling Order adopted by the Court, and

facilitate efficient litigation of potentially case-dispositive and/or case-

narrowing issues going forward, to the extent this Court does not dispose

of the matter on the abstention grounds previously set forth.

WHEREFORE, for the foregoing reasons, Defendants respectfully move,

without opposition, that the Court grant Defendants leave to amend their previously-

filed Motion to Dismiss as set forth in the attached proposed Order.

/s/ Jonathan Sidney

Jonathan Sidney

Pro Hac Vice

Colorado Bar No. 52463

Ohio Bar No. 0100561

Climate Defense Project

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Respectfully submitted,

MELINDA ANN THUSUS
ROSE ZHENG ABRAMOFF

By Counsel

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Case 5:23-cv-00625 Document 39 Filed 07/26/24 Page 4 of 4 PagelD #: 378

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Plaintiff,
ve: CIVIL ACTION NO 5:23-CV-00625

MELINDA ANN TUHUS, and
ROSE ZHENG ABRAMOFF
Defendants.

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing pleading was filed electronically
with the Clerk of the Court, this 26" day of July, 2024, and thereby served on
Counsel for the Plaintiff as follows:

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Matthew S. Casto (WVSB #8174)
Robert M. Stonestreet (WVSB # 9370)
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